  Case 4:22-cv-02134 Document 1 Filed on 06/29/22 in TXSD Page 1 of 11



                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

ROBERT MAHAFFEY                                §
                                               §     CIVIL ACTION NO.
Plaintiff                                      §
                                               §
VS.                                            §
                                               §
FOX EXPRESS INC.                               §
                                               §
Defendant                                      §

                                      COMPLAINT

TO THE U.S. DISTRICT JUDGE:

       COMES NOW, Plaintiff ROBERT MAHAFFEY and brings this cause of action

against FOX EXPRESS INC. (“FOX EXPRESS” or “Defendant”). FOX EXPRESS INC.

owns, controls, manages, and rents the real estate, property, and improvements in

Houston, Texas where a business named FOX EXPRESS operates. Mr. MAHAFFEY

respectfully shows that the Defendant’s real estate, property, and improvements at the

location are not accessible to individuals with mobility impairments and disabilities, in

violation of federal law.


                                         I. CLAIM

       1.      Mr. MAHAFFEY, a person with a physical disability and mobility

impairments, brings this action for declaratory and injunctive relief, attorneys’ fees, costs,

and litigation expenses against Defendant for violations of Title III of the Americans with

Disabilities Act, 42 U.S.C. §§12181, et seq. (“ADA”), and its attendant regulations, the

Americans with Disabilities Act Accessibility Guidelines (“ADAAG”).

        2.     Defendant refused to provide Mr. MAHAFFEY and others similarly



                                                                                            1
  Case 4:22-cv-02134 Document 1 Filed on 06/29/22 in TXSD Page 2 of 11



situated with sufficient ADA-compliant parking in the parking lot that serves FOX

EXPRESS. At the Houston location, there are no ADA-compliant van-accessible spaces

on the shortest access route to the business. Additionally, several of the disabled parking

spaces are missing signs.

           Based on these facts, DEFENDANT has denied Mr. MAHAFFEY the ability to

enjoy the goods, services, facilities, privileges, advantages, and accommodations at FOX

EXPRESS.


                              JURISDICTION AND VENUE

       3.        This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. §1331 and §1343(a)(3) & (a)(4) for violations of the Americans with Disabilities

Act of 1990, 42 U.S.C. §12101, et seq.

       4.        Venue is proper in this Court pursuant to 28 U.S.C. §1391(b), as the

events complained of occurred in Houston, Texas where the FOX EXPRESS business is

located.


                                          PARTIES

       5.        Plaintiff ROBERT MAHAFFEY is an honorably discharged U.S. Army

veteran who participated in Operation Desert Storm. As a result of his service, Mr.

Mahaffey has mobility impairments, as established by the Federal government and the

Veteran's Administration. Mr. Mahaffey has Disabled Veteran license plates on his

vehicle as issued by the State of Texas. Mr. Mahaffey has significant mobility

impairments, uses assistive devices for mobility and is a "qualified individual with a

disability" within the meaning of ADA Title III.

       6.        Defendant FOX EXPRESS INC. owns, manages, controls, and leases the


                                                                                              2
  Case 4:22-cv-02134 Document 1 Filed on 06/29/22 in TXSD Page 3 of 11



improvements and building where the FOX EXPRESS is situated. The address of FOX

EXPRESS is 9700 Telephone Road, Houston, Texas 77075. The business is a place of

public accommodation, operated by a private entity, whose operations affect commerce

within the meaning of Title III of the ADA.

       7.      Defendant FOX EXPRESS INC. is the owner of the property. Defendant

is a domestic corporation. Defendant can be served process via service to its Registered

Agent: Farida R. Karedia at 29719 Brookchase Drive, Spring, Texas 77386 as indicated

by records from the Texas Secretary of State.


                                        II. FACTS

       8.      FOX EXPRESS is a business establishment and place of public

accommodation in Houston, Texas. FOX EXPRESS is situated on real estate, property,

and improvements owned, controlled, managed, and leased out by FOX EXPRESS INC..

       9.      FOX EXPRESS is not accessible to disabled individuals because it has no

ADA-compliant van-accessible spaces on the shortest access route to the business. At the

Houston location, there are none whatsoever on the premises. In addition, several

disabled parking signs are missing.

       10.     Pictures taken at the location prove this:




                                                                                           3
  Case 4:22-cv-02134 Document 1 Filed on 06/29/22 in TXSD Page 4 of 11




FOX EXPRESS business in Houston, TX. There is no ADA-compliant van-accessible
space (96” wide with 96” side access aisle) near the business entrance on the shortest
possible access route. In addition, several disabled parking signs are missing.




FOX EXPRESS business in Houston, TX. There is no ADA-compliant van-accessible
space (96” wide with 96” side access aisle) near the business entrance on the shortest
possible access route. In addition, several disabled parking signs are missing.


                                                                                         4
  Case 4:22-cv-02134 Document 1 Filed on 06/29/22 in TXSD Page 5 of 11




FOX EXPRESS business in Houston, TX. There is no ADA-compliant van-accessible
space (96” wide with 96” side access aisle) near the business entrance on the shortest
possible access route. In addition, several disabled parking signs are missing.

       11.     The Plaintiff went to FOX EXPRESS property in March of 2022.

       12.     In encountering and dealing with the lack of an accessible facility, the

Plaintiff experienced difficulty and discomfort. These violations denied Plaintiff the full

and equal access to facilities, privileges and accommodations offered by the Defendant.

Plaintiff intends to return to FOX EXPRESS. By not having an ADA-compliant parking

area, the Plaintiff’s life is negatively affected because he is not able to safely access the

location without fear of being struck by a vehicle. This causes the Plaintiff depression,

discomfort, and emotional stress and the Plaintiff is prevented from resuming a normal

lifestyle and enjoying access to businesses in his area.

       13.     Additionally, on information and belief, the Plaintiff alleges that the

failure to remove the barrier was intentional because: (1) this particular barrier is intuitive




                                                                                                5
  Case 4:22-cv-02134 Document 1 Filed on 06/29/22 in TXSD Page 6 of 11



and obvious; (2) the Defendant exercised control and dominion over the conditions at this

location and, therefore, the lack of accessible facilities was not an “accident” because

Defendant intended this configuration; (3) Defendant has the means and ability to make

the change; and (4) the changes to bring the property into compliance are “readily

achievable.”

        14.     At the Houston location, there are no ADA-compliant van-accessible

spaces on the shortest access route to the business. In addition, several disabled parking

signs are missing and the disabled spaces are located on the far side of the building, thus

deterring Disabled patrons from accessing the business.

        15.     The Americans with Disabilities Act (ADA), 42 U.S.C. §12101, has been

federal law for 30 years. These are blatant violations of the ADA.


          III. CAUSE OF ACTION - VIOLATION OF THE AMERICANS
               WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12101

        16.     Plaintiff repleads and incorporates by reference, as if fully set forth at

length herein, the allegations contained in all prior paragraphs of this complaint.

        17.     Under the ADA, it is an act of discrimination to fail to ensure that the

privileges, advantages, accommodations, facilities, goods and services of any place of

public accommodation is offered on a full and equal basis by anyone who owns, leases,

or operates a place of public accommodation. See 42 U.S.C. § 12182(a). Discrimination

is defined, inter alia, as follows:

                a.      A failure to make reasonable modifications in policies, practices,

        or procedures, when such modifications are necessary to afford goods, services,

        facilities, privileges, advantages, or accommodations to individuals with



                                                                                              6
  Case 4:22-cv-02134 Document 1 Filed on 06/29/22 in TXSD Page 7 of 11



       disabilities, unless the accommodation would work a fundamental alteration of

       those services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).

               b.      A failure to remove architectural barriers where such removal is

       readily achievable. 42 U.S.C. § 12182(b)(2) (A)(iv). Barriers are defined by

       reference to the ADAAG, found at 28 C.F.R., Part 36, Appendix “D.”

               c.      A failure to make alterations in such a manner that, to the

       maximum extent feasible, the altered portions of the facility are readily accessible

       to and usable by individuals with disabilities, including individuals who use

       wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to

       the altered area and the bathrooms, telephones, and drinking fountains serving the

       altered area, are readily accessible to and usable by individuals with disabilities.

       42 U.S.C. § 12183(a)(2).

       18.     Here, the Defendant did not provide a sufficient number of ADA-

compliant van-accessible parking spaces in its parking lot, although doing so is easily and

readily done, and therefore violated the ADA.


                                  IV. RELIEF REQUESTED

Injunctive Relief

       19.     Mr. MAHAFFEY will continue to experience unlawful discrimination as a

result of the Defendant’s refusal to comply with the ADA. Injunctive relief is necessary

so he and all individuals with disabilities can access the Defendant’s property equally, as

required by law, and to compel Defendant to repave and restripe the parking lot to

comply with the ADA. Injunctive relief is also necessary to compel Defendant to keep

the property in compliance with federal law.


                                                                                              7
  Case 4:22-cv-02134 Document 1 Filed on 06/29/22 in TXSD Page 8 of 11




Declaratory Relief

        20.     Mr. MAHAFFEY is entitled to declaratory judgment concerning

Defendant’s violations of law, specifying the rights of individuals with disabilities to

access the goods and services at the Defendant’s location.

        21.     The facts are undisputed and Defendant’s non-compliance with the ADA

has been proven through on-site photographs. Plaintiff proves a prima facie case of ADA

violations by the Defendant.


Attorneys’ Fees and Costs

        22.     Plaintiff is entitled to reasonable attorneys’ fees, litigation costs, and court

costs, pursuant to 42 U.S.C. §12205.


                                V. PLAINTIFF HAS STANDING

        23.     The United States Court of Appeals for the Fifth Circuit is clear with

regard to ADA standing and set forth its reasoning in Frame v. Arlington, 657 F.3d 215

(5th Cir. 2011)(cert. denied), “Article III standing requires a plaintiff seeking injunctive

relief to allege ‘actual or imminent’ and not merely ‘conjectural or hypothetical’ injury.”


        24.     In this manner, the Fifth Circuit ruled in Frame that for a person to have

standing and bring an ADA claim, the person must allege the inability to access the

goods, facilities, and services that the defendant offers. As applied to the instant case, the

Plaintiff alleges that he is unable to fully access the goods, facilities, and services at the

Defendant’s property because the property is not accessible and is not ADA-compliant.

The Plaintiff lives in the Harris County area, has visited the Defendant’s property, has the




                                                                                                 8
  Case 4:22-cv-02134 Document 1 Filed on 06/29/22 in TXSD Page 9 of 11



intent to return, but was ‘deterred from visiting or patronizing the accommodation,’ thus

meeting the requirements for standing in Frame.


       25.     Again, the Fifth Circuit emphasizes how standing is met by ADA

claimants: “Once a plaintiff has actually become aware of discriminatory conditions

existing at a public accommodation, the plaintiff has suffered an injury.” See Frame v.

Arlington, 657 F.3d 215 (5th Cir. 2011)(cert. denied), quoting Pickern v. Holiday Foods

Inc., 293 F.3d 1133, 1136-37 (9th Cir. 2002). Thereby, Plaintiff meets the Fifth Circuit

standard under Frame to allege and plead a sufficient cause of action.


       26.     Plaintiff also alleges that his day-to-day life has been negatively impacted

by the Defendant’s refusal to bring the property into ADA compliance. Thus, Plaintiff

meets the second prong of the Fifth Circuit’s requirement for standing in ADA cases: a)

intent to return; and b) negative impact on day-to-day life. See Frame v. Arlington, supra.


       27. The parking layout at Defendant’s location creates a hazardous condition

because: 1) there are no van-accessible spaces and a customer cannot safely exit their

vehicle and remove their mobility aids (cane, walker or wheelchair); 2) there are no

disabled / handicapped spaces whatsoever, thus forcing disabled customers to park far

from the store entrance; and 3) lack of markings / proper signage which allow vehicles to

park everywhere, thus creating the likelihood that the Plaintiff could be injured by

another vehicle as Plaintiff is offloading mobility assistance devices (cane, walker,

wheelchair, etc.) These conditions make it appear that Plaintiff is unwelcome at

Defendant’s property. Thus, the Plaintiff is deterred from accessing FOX EXPRESS and

meets the pleading standard under Frame to show standing and seek injunctive relief.



                                                                                            9
 Case 4:22-cv-02134 Document 1 Filed on 06/29/22 in TXSD Page 10 of 11




        28. Intent to Return. Plaintiff has the intent to return to FOX EXPRESS. The

Plaintiff is a resident of Harris County, Texas and shops locally. The Plaintiff believes it

is beneficial to shop locally to save money and provide for the well-being of his family.

Not having access to local businesses (because of his disability) negatively impacts the

Plaintiff’s daily life. Not being able to patronize local shops and stores negatively impacts

Plaintiff in his day-to-day life.


                                VI. PRAYER FOR RELIEF

        THEREFORE, Mr. MAHAFFEY respectfully requests this Court award the

following relief:

        A.      A permanent injunction, compelling Defendant to comply with the

Americans with Disabilities Act; and enjoining Defendant from violating the ADA and

from discriminating against Mr. MAHAFFEY and those similarly situated, in violation of

the law;

        B.      A declaratory judgment that Defendant’s actions are a violation of the

ADA;

        C.      Find that Mr. MAHAFFEY is the prevailing party in this action, and order

Defendant liable for Plaintiff’s attorneys’ fees, costs, and litigation expenses; and,

        D.      Grant such other and additional relief to which Plaintiff may be entitled in

this action.


DATED: June 29, 2022
                                       Respectfully,

                                       By:     /s/ R. Bruce Tharpe
                                               R. Bruce Tharpe



                                                                                           10
Case 4:22-cv-02134 Document 1 Filed on 06/29/22 in TXSD Page 11 of 11



                                  LAW OFFICE OF
                                  R. BRUCE THARPE, PLLC
                                  PO Box 101
                                  Olmito, TX 78575
                                  (956) 255-5111 (Tel)
                                  (866) 599-2596 (Fax)
                                  Email: rbtharpe@aol.com
                                  Questions@BruceTharpeLaw.com
                                  ATTORNEY OF RECORD FOR
                                  PLAINTIFF ROBERT MAHAFFEY




                                                                    11
